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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,           §
                                      §
                          Plaintiff,  §
  v.                                  §                Case No 11-80205-CR-MARRA/HOPKINS
                                      §
  MITCHELL J. STEIN,                  §
                                      §
                          Defendant.  §
  _____________________________________/

               RESPONSE OF THE UNITED STATES IN OPPOSITION
          TO MOTION FOR ADMISSION PRO HAC VICE OF JARED J. SCHARF

         Attorney Jared Scharf suffers from conflicts of such magnitude and number that this

  Court must deny his admission pro hac vice as counsel for the defendant, Mitchell Stein. Mr.

  Scharf’s representation of the defendant would violate a number of Florida Rules of Professional

  Conduct (“Florida Rules”), and irrespective of any waivers or other remedies to those conflicts

  that Mr. Scharf or the defendant might proffer to the Court, Mr. Scharf’s extensive prior

  involvement in matters directly related to this case must preclude his appearance as counsel for

  the defendant.

  I.     BACKGROUND

         On December 13, 2011, a duly empanelled grand jury sitting in the Southern District of

  Florida returned an indictment charging the defendant with various offenses arising out of his

  involvement with a company known as Signalife, Inc. or Heart Tronics, Inc. (collectively

  referred to hereinafter as “Signalife”). (Dkt. No. 3.) On December 20, 2011, the Securities and

  Exchange Commission (“SEC”) sued the defendant and others, alleging among other things a

  number of violations of the securities laws arising out of many of the same events giving rise to

  the Indictment. SEC v. Heart Tronics et al., No. 11-cv-1962 (C.D. Cal. December 20, 2011).
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         Mr. Scharf represented no fewer than five individuals in connection with the SEC’s

  investigation, including the defendant. 1 He also purported to represent Signalife itself.

  Specifically, Mr. Scharf represented or represents former Signalife board member Jennifer

  Black, see Exhibit 1 at *2–*3; former Signalife co-Chief Executive Officer Willie Gault, see

  Exhibit 2 at 2–3, Exhibit 3 at 2; and Signalife board member and Chief Executive Officer

  Rowland Perkins, see Exhibit 4 at 2–3. 2

         In addition, and likely most fatally to his instant request to appear as defense counsel in

  this case, Mr. Scharf represented Martin Carter. He sent a Wells submission to the SEC on

  behalf of Mr. Carter and others, see Exhibit 5 at 6 (describing Mr. Carter as “a brilliant

  electronics wizard, but a simple man who is incapable of harboring devious plots”), and along

  with the defendant, he represented Mr. Carter during Mr. Carter’s testimony before the SEC on

  February 25, 2010. See Exhibit 6 at 2–3. Mr. Carter’s testimony was among the false testimony

  referenced in Count 14 of the Indictment (Dkt. No. 3 at ¶¶ 25–29), and was the false testimony

  Mr. Carter admitted giving and conspiring to give when pleading guilty to a federal crime in the

  District of Columbia. See Exhibit 7 at 3–4. Notably, and perhaps because of Mr. Scharf’s first-

  hand knowledge of events related to Count 14, the defendant listed Mr. Scharf (along with

  several of Mr. Scharf’s current and former clients) on the defendant’s witness list. (Dkt. No. 62.)




  1
   Mr. Scharf’s prior representation of the defendant included, but was not limited to, appearing
  with the defendant when the defendant testified four separate times before the SEC.
  2
   The United States believes that Mr. Scharf may currently represent or may previously have
  represented additional individuals employed by or otherwise associated with Signalife, including
  William Matthews and Jim Fiedler, both of whom, like Messrs. Gault and Perkins, Ms. Black,
  and Mr. Scharf himself, are included on the defendant’s witness list. (Dkt. No. 62.)
                                                   2
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         Despite this panoply of actual and potential conflicts, Mr. Scharf now seeks this Court’s

  permission to represent the defendant in this case. His request disregards a number of Florida

  Rules, and should be denied.

  II.    ARGUMENT

         While the Sixth Amendment guarantees a defendant in a criminal trial the right to counsel

  of his choice, “that right is not absolute.” United States v. Ross, 33 F.3d 1507, 1522–23 (11th

  Cir. 1994). Moreover, when proposed defense counsel has an actual conflict of interest, “the

  client is denied effective assistance of counsel, and the attorney may be disqualified . . . . Indeed,

  even a potential conflict suffices for disqualification.” Id. at 1523 (citing United States v.

  Martinez, 630 F.2d 361, 362 (5th Cir. 1980), cert. denied, 450 U.S. 922 (1981), and Wheat v.

  United States, 486 U.S. 153, 164 (1988)). 3 Thus,

         [i]n determining whether or not to disqualify defense counsel, the court must
         balance two Sixth Amendment rights: (1) the right to be represented by counsel
         of choice and (2) the right to a defense conducted by an attorney who is free of
         conflicts of interests . . . . The need for fair, efficient and orderly administration
         of justice overcomes the right to counsel of choice where an attorney has an actual
         conflict of interest, such as when he has previously represented a person who will
         be called as a witness against a current client at a criminal trial.

         Ross, 133 F.3d at 1523 (citing Wheat, 486 U.S. at 163, and United States v. Casiano, 929

  F.2d 1046, 1052 (5th Cir. 1991)) (emphasis added). 4

         Despite being a member of the New York State Bar, Mr. Scharf would be bound by the

  Florida Rules were he to be admitted to practice before this Court. See Local Rule 11.1(c). 5

  3
   In Bonner v. City of Prichard, the Eleventh Circuit adopted as binding precedent all decisions
  of the former Fifth Circuit handed down prior to October 1, 1981. 661 F.2d 1206, 1209 (11th
  Cir. 1981) (en banc).
  4
   While Ross and other cases cited herein address the Court’s ability to disqualify counsel found
  to be laboring under a conflict, the analysis for denying counsel’s motion to appear pro hac vice
  should be no different, as the latter is simply a preliminary procedural step before the former
  would be necessary.

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  And as discussed in detail below, the Florida Rules would not permit him to represent the

  defendant in this case. Accordingly, the Court’s “independent interest in ensuring that the

  integrity of the judicial system is preserved and that trials are conducted within the ethical

  standards to which we all adhere,” United States v. Perez, 694 F. Supp. 854, 857 (S.D. Fla.

  1988), should preclude Mr. Scharf from appearing in this case on behalf of the defendant.

            A. Mr. Scharf’s Representation of Multiple Potential Witnesses Creates a Conflict

            Under the Florida Rules, a lawyer shall not represent a client if the representation of one

  client will be directly adverse to another of the lawyer’s clients, or if there is a substantial risk

  that the lawyer’s representation of that client will be materially limited by the lawyer's

  responsibilities to another client, a former client, or a third person or by a personal interest of the

  lawyer. Florida Rule 4-1.7(a).

            Similarly, “[a] lawyer who has formerly represented a client in a matter shall not

  thereafter represent another person in the same or a substantially related matter in which that

  person’s interests are materially adverse to the interests of the former client.” Florida Rule 4-

  1.9(a) (emphasis added). The only exception to this prohibition is if the former client “gives

  informed consent.” Id. And outside of certain limited circumstances or where such information

  “has become generally known,” an attorney shall not “use information relating to the

  representation [of the former client] to the disadvantage of the former client.” Florida Rule 4-

  1.9(b).




  5
   Furthermore, the Florida Rules at issue here are similar, if not identical, to those applicable to
  members of the New York State Bar. Compare., e.g., Florida Rule 4-1.7 with New York State
  Rule of Professional Conduct (“New York Rule”) 1.9; Florida Rule 4-1.9 with New York Rule
  1.9; and Florida Rule 4-3.7 with New York Rule 3.7.
                                                     4
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          The Eleventh Circuit has repeatedly upheld disqualifications where an attorney’s

  competence may be compromised because of duties owed to other clients, noting, for example,

  that:

          If the conflict could cause the defense attorney improperly to use privileged
          communications in cross-examination, then disqualification is appropriate.
          Indeed, it is also true that disqualification is equally appropriate if the conflict
          could deter the defense attorney from intense probing of the witness on cross-
          examination to protect privileged communications with the former client or to
          advance the attorney’s own personal interest.

          Ross, 33 F.3d at 1523 (emphases added); see also Freund v. Butterworth, 165 F.3d 839,

  859 (11th Cir. 1999) (“The rule of law in this circuit is (and will continue to be) that ‘once the

  former client [petitioner] proves that the subject matters of the present and prior representations

  are ‘substantially related,’ the court will irrebuttably presume that relevant confidential

  information was disclosed during the former period of representation’”) (internal citations

  omitted); United States v. Jones, 52 F.3d 924, 926 (11th Cir. 1995) (“This Court has stated that

  the harm from representing conflicting interests lies not just in what the attorney does but also in

  what the advocate finds himself compelled to refrain from doing”) (internal citations omitted).

  The concern that an attorney might improperly deploy his former client’s confidential

  information to that former client’s disadvantage in the course of representing his current client is

  particularly acute where the former client has not waived the conflict. See, e.g., United States v.

  Campbell, 491 F.3d 1306, 1312 (11th Cir. 2007) (noting that such situations “present[] a stronger

  justification for disqualification”). 6



  6
   Even if Mr. Scharf were to suggest that one or more of his current or former clients waived the
  conflicts described above, this would not remedy the problem. Not only is this Court not
  obligated to accept a waiver, see Ross, 33 F.3d at 1524 (citing Wheat, 486 U.S. at 162), but it
  would strain credulity for Mr. Scharf to suggest that generally worded waivers his clients may
  have signed at some point in the past should be considered knowing, intelligent, and voluntary
  waivers of, or informed consent to, the glaring conflict inherent in, for example, allowing Mr.
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         Here, Mr. Scharf has represented not just one, but several potential trial witnesses. Most

  problematic is his prior representation of Martin Carter, whose testimony is likely to figure

  prominently in the United States’ case given his extensive involvement in the defendant’s fraud

  scheme. Allowing Mr. Scharf to represent the defendant, after Mr. Scharf not only represented

  Mr. Carter in the substantially related SEC investigation (in which Mr. Carter testified falsely)

  would considerably diminish the likelihood that the integrity of the judicial system could be

  preserved or that trial in this matter would be conducted within ethical standards. Ross, 33 F.3d

  at 1523.

         B. A “Pinch-Hitter” Would Not Remedy Mr. Scharf’s Many Conflicts

         Should Mr. Scharf propose remedying his multiple glaring conflicts by enlisting an

  “independent” attorney to cross-examine his former clients, this Court should reject that proposal

  as wholly inadequate to cure Mr. Scharf’s conflicts. It is unlikely in the extreme that an effective

  “Chinese wall” could or would be erected between Mr. Scharf and the rest of the defense team as

  they prepare to cross-examine Mr. Carter or Mr. Scharf’s other current or former clients, if only

  because of the sheer number of those current or former clients that are potential witnesses. Any

  suggestion that Mr. Scharf was being effectively “walled off” from his former clients would

  demand considerable skepticism, and it is for these reasons that courts in this District and

  elsewhere have disfavored the “pinch-hitter” solution. See, e.g., Perez, 694 F. Supp. at 857–58

  (“further conflict and impropriety will undoubtedly occur when the government’s star witness . .

  . is subjected to cross examination from his former attorney . . . . The suggested alternative of



  Scharf or his co-counsel to cross-examine those clients. See Ross, 33 F.3d at 1524. See also
  Florida Rule 4-1.7 (requiring “informed consent, confirmed in writing or clearly stated on the
  record at a hearing” to a waiver of a conflict between interests of current clients); Cmt. to Florida
  Rule 4-1.9 (making waiver of conflicts between interests of current and former clients only
  available where “the former client gives informed consent”).
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  obtaining a pinch hitter to cross-examine [defense counsel’s former client] is uninviting. The

  strictures of the Code of Professional Responsibility does [sic] not support such an alternative[,

  and w]hile Defendant maintains that his defense is not directed to an attack on [the former

  client], it is clear that the [former client] is the lynch pin of the government’s case against

  [him].”); see also, e.g., United States v. Tinsley, 166 F.3d 336, at *8 (4th Cir. 1998) (per curiam);

  United States v. Campbell, 2005 WL 6436177 (N.D. Ga. March 9, 2005); United States v.

  Miranda, 936 F. Supp. 945, 951–52 (S.D. Fla. 1996).

         C. Mr. Scharf is a Potential Witness in This Case

         The Florida Rules unequivocally forbid a lawyer from serving as counsel at a trial “in

  which the lawyer is likely to be a necessary witness on behalf of the client,” except in four

  limited circumstances: (1) where his testimony would relate to an uncontested issue; (2) where

  his testimony would relate solely to a matter of formality and there is no reason to believe that

  substantial evidence will be offered in opposition to the testimony; (3) where his testimony

  relates to the nature and value of legal services rendered in the case; or (4) where disqualification

  of the lawyer would work substantial hardship on the client. Florida Rule 4-3.7(a). “A purpose

  of the rule is to prevent the evils that arise when a lawyer dons the hats of both an advocate and

  witness for his or her own client. Such a dual role can prejudice the opposing side or create a

  conflict of interest.” Scott v. State, 717 So.2d 908, 910 (Fla. 1998) (per curiam) (internal

  citations omitted).

         As noted above, Mr. Scharf was one of two non-SEC witnesses to what occurred in and

  around Mr. Carter’s false testimony to the SEC, with the other witness being the defendant.

  Presumably this is why the defendant himself listed Mr. Scharf as a potential trial witness. (Dkt.

  No. 62.) Accordingly, this Court need look no further than the defendant’s own predictions as to



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  whether Mr. Scharf might be a witness to see that his participation as counsel would be in

  contravention of the Florida Rules, and allowing him to represent the defendant would invite

  precisely the “evils” of which the Florida Supreme Court has warned.

  III.   CONCLUSION

         None of the principles and restrictions embodied in the Florida Rules and cases cited

  herein can be unknown or surprising to Mr. Scharf or the defendant. At the outset of nearly

  every one of his clients’ testimony before the SEC, one or more SEC attorneys explicitly

  informed Mr. Scharf (in the presence of the defendant) of the perils of purporting to represent

  multiple subjects of an investigation. See, e.g., Exhibit 4 at 3 (“Counsel, we understand that you

  represent multiple witnesses in this investigation. Under the Canons of Ethics, it is your

  responsibility to the witness to determine whether you have a conflict of interest”). Mr. Scharf

  repeatedly acknowledged those admonitions. See, e.g., Exhibit 8 at 2–3 (“I don’t need to be

  reminded but thank you”); Exhibit 1 at *5 (“it should be taken for granted that we know the rules

  that bind our professional behavior. We don’t have to be reminded of that.”)

         Mr. Scharf’s effort to insert himself into this case is profoundly troubling. It is also

  consistent with the defendant’s previous dilatory gambits. 7 Allowing Mr. Scharf to appear in

  this case on the defendant’s behalf would impair the integrity of the judicial system and prevent

  this Court from ensuring that trial in this matter is conducted within ethical standards, and the

  motion seeking his admission pro hac vice should be denied.




  7
   Even at this late date, there is in the instant motion a reference to another attorney becoming
  involved if that attorney and the defendant “can complete arrangements in this regard.” (Dkt.
  No. 86 at ¶ 2.) This promise is reminiscent of those the defendant repeatedly made (and broke)
  to this Court following the continuation of his October 2012 trial date.
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                                            Respectfully submitted,

                                            DENIS J. McINERNEY
                                            Chief
                                            Fraud Section

  DATED:      February 13, 2013      By:              /s/
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on February 13, 2013, a true and correct copy of the foregoing
   document has been delivered to counsel of record via the Court’s Electronic Filing System.



                                                              ________/s/____________________
                                                              Albert B. Stieglitz, Jr.
